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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

CHARLES PHILLIP RICE                                                               PLAINTIFF

v.                                  4:20CV01281-LPR-JTK

G. MUSSELWHITE, et al.                                                          DEFENDANTS

                                           ORDER

       The Court has received proposed findings and recommendations from United States

Magistrate Judge Jerome T. Kearney.     There have been no objections and the time to file such

objections has expired.   After a careful and de novo review of the record and the proposed

findings and recommendations, the Court adopts them in their entirety.   Accordingly,

       IT IS, THEREFORE, ORDERED that:

       1.       Plaintiff’s Complaint is DISMISSED without prejudice.

       2.       Defendant’s Motion to Compel (Doc. No. 26) is DENIED as moot.

       An appropriate Judgment shall accompany this Order.

       IT IS SO ORDERED this 3rd day of November, 2021.



                                                   ________________________________
                                                   LEE P. RUDOFSKY
                                                   UNITED STATES DISTRICT JUDGE




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